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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              EVANSVILLE DIVISION

 LYNNETTE J. KAISER, et al.,

                      Plaintiffs,

               v.                                   No. 3:20-cv-278-RLY-CSW

 ALCOA USA CORP., et al.,

                      Defendants.


         DEFENDANTS’ MOTION TO STAY INJUNCTION PENDING APPEAL

        Pursuant to Federal Rule of Civil Procedure 62(d), Defendants move the Court to stay

 enforcement of the injunction entered against them, ECF No. 181, pending resolution of

 Defendants’ appeal, ECF No. 183. The bases of this Motion are set forth in Defendants’

 accompanying Memorandum of Law and the First and Second Declarations of Tiffany

 Ackerman.

        WHEREFORE, Defendants respectfully request that this Court grant their Motion to Stay

 Injunction Pending Appeal.




 DATED: April 11, 2025                          Respectfully submitted,


                                                 /s/ Thomas Birsic

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                                 CERTIFICATE OF SERVICE

         I hereby certify that, on April 11, 2025, a copy of the foregoing was filed electronically.
 Service of this filing will be made on all ECF-registered counsel by operation of the court’s
 electronic filing system. Parties may access this filing through the court’s system.

                                               /s/ Thomas Birsic
                                                 Thomas Birsic
